Case 1:05-cr-10041-.]DT Document 3 Filed 05/20/05 Page 1 of 2 Page|D 5

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UNITED sTATEs DISTRICT coURT
wEsTERN DISTRICT oF TENNESSEE 05 HIY 20 PH k= 30
Eastern Division

ROE`~LEF:'T R. D| TROLIO

UNITED STATES OF AMERICA CLEF¥K, U.S, DiST CT_

W, D. OF TN JACKSON
-vs- Case No. 1:050r1004l-001T
ALEX LOUIS

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled oase, and is otherwise qualified for appointment of oounsel. Accordingly,

the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
' The Fecleral Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT
' All purposes including trial and appeal

DONE and ORDERED in 111 South Highland, Jackson, TN, this 20th day of May, 2005.

C§."/ZM££__

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE IUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Off`lce

Assistant Federal Public Defender

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Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 1:05-CR-10041 Was distributed by faX, mail, or direct printing on
May 24, 2005 to the parties listed.

 

 

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M. Dianne Smothers

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Jacl<son7 TN 38301

J ames W. PoWell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

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Honorable J ames Todd
US DISTRICT COURT

